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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


 Alliance for Hippocratic Medicine, et al.,

                               Plaintiffs,

        v.                                                 Case No. 2:22-cv-00223-Z

 U.S. Food and Drug Administration, et al.,

                               Defendants.


                                   Defendants’ Notice of Appeal

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and Order, entered at ECF

No. 137 and dated April 7, 2023.



April 7, 2023                                     Respectfully submitted,

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